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            10

            11                               UNITED STATES DISTRICT COURT

            12                              NORTHERN DISTRICT OF CALIFORNIA

            13                                  SAN FRANCISCO DIVISION

            14

            15   SECURITIES AND EXCHANGE                      Case No. C 06-06384 CRB
                 COMMISSION,
            16                                                DECLARATION OF QUYEN L. TA IN
                                                 Plaintiff,   SUPPORT OF DEFENDANTS ROMULUS
            17                                                S. PEREIRA’S AND ROBERT B.
                        v.                                    STANTON’S MOTION TO ENLARGE
            18                                                TIME TO FILE ANSWERS TO
                 ROMULUS S. PEREIRA, et al.,                  PLAINTIFF’S AMENDED COMPLAINT
            19
                                               Defendants.    Dept:     Courtroom 8
            20                                                Judge:    The Honorable Charles R. Breyer

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                  DECLARATION OF QUYEN L. TA IN SUPPORT OF DEFS. PEREIRA’S AND STANTON’S MOTION TO
394959.01                ENLARGE TIME TO FILE ANSWERS TO PLAINTIFF’S AMENDED COMPLAINT
                                              CASE NO. 06-CV-06384-CRB
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             1          I, Quyen L. Ta, declare as follows:

             2          1.      I am an attorney at law, licensed to practice before the Federal District Court for

             3   the Northern District of California. I am an associate with the law firm of Keker & Van Nest

             4   LLP, counsel for Defendants Romulus S. Pereira and Robert B. Stanton in the above-captioned

             5   action. I have personal knowledge of all facts contained in this declaration, and if called as a

             6   witness in this action could and would competently testify thereto.

             7          2.      Because Keker & Van Nest represents two Defendants in this action, more time

             8   would be required to respond to the SEC’s Amended Complaint. Messrs. Pereira and Stanton

             9   would be unduly prejudiced if the Court does not grant this extension of time for them to file

            10   separate Answers to the SEC’s 84-page Amended Complaint. In order to adequately defend

            11   both Messrs. Pereira and Stanton, I believe that one more month would allow us to thoroughly

            12   research the causes of action as they relate to these new allegations and would allow us enough

            13   time to file Answers and plead appropriate affirmative defenses on behalf of Messrs. Pereira and

            14   Stanton.

            15          3.      The parties to this action have met and conferred regarding various alternative

            16   dispute resolution options and filed a stipulation with this Court on February 13, 2007, stating

            17   that they agreed to hire and meet with a former judge employed by JAMS for a one-day session

            18   to discuss possible settlement. After numerous discussions, the parties agreed to have Judge

            19   Fern Smith from JAMS mediate their disputes on June 8, 2007. A true and correct copy of the

            20   parties’ stipulation and proposed Order Selecting ADR Process is attached as Exhibit 1.

            21          4.      Messrs. Pereira and Stanton are entering into mediation in good faith and are

            22   hopeful that this mediation will result in settlement, which would obviate the need for them to

            23   file any more pleadings with the Court relating to the SEC’s Complaint.

            24          5.      In April 2007, the SEC has produced approximately 317,000 documents

            25   (approximately 1.25 million pages) to all Defendants in this matter relating to the prior SEC

            26   investigation of Riverstone Networks. In order to enter into mediation in good faith, we have

            27   begun to review these documents in order to assess the SEC’s allegations against Messrs. Pereira

            28   and Stanton.
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                   DECLARATION OF QUYEN L. TA IN SUPPORT OF DEFS. PEREIRA’S AND STANTON’S MOTION TO
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             1          6.      I do not believe that the SEC would be prejudiced by the requested extension of

             2   time. The parties have agreed to begin witness discovery on August 1, 2007, but enlarging the

             3   time for Messrs. Pereira and Stanton to file their Answers until June 15 would not affect the

             4   current schedule for this case.

             5          7.      I have attempted to obtain a stipulation to this requested extension from Plaintiff’s

             6   Counsel, Leslie Hughes. On May 4, 2007, I contacted Ms. Hughes via telephone requesting an

             7   extension of a little more than one month, until June 21, 2007, to answer or otherwise respond to

             8   the SEC’s First Amended Complaint. Plaintiff’s Counsel refused, stating that such extension

             9   would interfere with the scheduling of her other cases and her vacation time. Because I wanted

            10   to resolve this dispute without involving the Court, I suggested dates that would not interfere

            11   with Ms. Hughes’ vacation and with the scheduling of her other cases.

            12          8.      Despite my attempts to resolve this matter and to obtain a stipulation, Ms. Hughes

            13   refused to grant the additional time to respond, stating that she believed the 10 days provided

            14   under the Federal Rules would be enough time for Messrs. Pereira and Stanton to respond to the

            15   SEC’s Amended Complaint.

            16          9.      Subsequent to that phone call, on that same day, I sent an e-mail to Ms. Hughes

            17   confirming her position that she would not grant us several more weeks to either answer or

            18   otherwise respond to the SEC’s Amended Complaint. Ms Hughes responded to this e-mail

            19   several days later, on May 7, 2007, stating that “I do not agree to an additional five weeks until

            20   June 21 for you or other defendants to answer or respond to the first Amended Complaint.” She

            21   stated in her e-mail that “[e]xtending your time to answer creates scheduling issues for me in

            22   other cases.” A true and correct copy of the e-mail exchange between me and Ms. Hughes is

            23   attached as Exhibit 2.

            24          10.     There have been several minor time modifications in this case related to motions

            25   filed in response to the SEC’s original Complaint. On approximately December 20, 2006, Ms.

            26   Hughes contacted me to obtain a stipulation to allow her several more weeks to oppose Messrs.

            27   Pereira’s and Stanton’s Motions to Dismiss and Strike because, according to the Stipulation, the

            28   Opposition Brief was due “during a week when plaintiff’s counsel will be on vacation.” A true
                                                                  2
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             1   and correct copy of the December 20, 2006 Stipulation is attached as Exhibit 3.

             2          11.     On February 13, 2007, the Clerk of the Court issued a “Clerk’s Notice,”

             3   rescheduling the motions on calendar from February 16, 2007 to March 2, 2007. A true and

             4   correct copy of the “Clerk’s Notice” is attached as Exhibit 4.

             5          12.     On February 21, 2007, the parties stipulated to continue Defendants’ Motions to

             6   be heard on the Law and Motion Calendar to coincide with the date that all parties were

             7   scheduled to appear before the Court for the Case Management Conference. A true and correct

             8   copy of the February 21, 2007 stipulation is attached as Exhibit 5.

             9          I declare under penalty of perjury under the laws of the United States that the foregoing is

            10   true and correct, and that this declaration was executed on May 8, 2007 in San Francisco,

            11   California.

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            13   Dated: May 8, 2007                                     KEKER & VAN NEST, LLP

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            15
                                                                  By: /s/ Quyen L. Ta ____________________
            16                                                        QUYEN L. TA
                                                                      Attorney for Defendants
            17                                                        ROMULUS S. PEREIRA and
                                                                      ROBERT STANTON
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